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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                  LAFAYETTE DIVISION
                                                                   .'DO
                                                                          'i .•-'•J



 UNITED STATE OF AMERICA, CASE NO.; 6:19-cv-QA393-MJJ-CBW

          Plaintiff,                                   ^,;
 V.



 KEITH L. BREAUX, et. aL,

          Defendants.
                                       /

  DEFENDANT. KEITH L. BREAUX'S MOTION FOR LEAVE OF COURT TO FILE A
  REPLY TO PLAINTIFF'S OPPOSITION TO DEFENDANT'S MOTION TO DIMSISS
   COMPLAINT. AND INCORPORATED MEMORANDUM OF LAW IN SUPPORT

          COMES NOW, the Defendant, KEITH L. BREAUX ("Defendant"), and files this

 Motion For Leave of Court to File a Reply to Plaintiffs Opposition to Defendant's Motion to

 Dismiss Complaint, and Incorporated Memorandum of Law in Support, pursuant to this


 Honorable Court s Order Notice of Motion Setting Without Oral Argument entered on February

 24, 2020, Local Rule 7.8, and in support thereof respectfully states as follows:

      1. On October 25, 2019, the Plaintiff filed a two (2) count Complaint against the Defendant.

      2. On Febmary 20, 2020, the Defendant filed a Motion to Dismiss Complaint, and

         Incorporated Memorandum of Law in Support (the "Motion to Dismiss").

      3. This Honorable Court entered an Order on Febmary 24, 2020, a Notice of Motion Setting

         Without Oral Argument (the "Order").

      4. The Plaintiff filed its Opposition to Defendant's Motion to Dismiss on March 12, 2020.

      5. The Defendant herein seek leave of court to file a reply to Plaintiffs Opposition to

         Defendant's Motion to Dismiss.


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    6. The Plaintiff will not be prejudiced as this matter is the beginning stages of litigation.

    7. This motion is being filed within the time allowed pursuant to this Honorable Court's

        Order.


        WHEREFORE, Defendant, KEITH L. BREAUX moves this Honorable Court to issue

 an Order granting the Defendant's Motion for Leave of Court to file a reply to Plaintiffs

 Opposition to Defendant's Motion to Dismiss, and grant such other and further relief as this

 Honorable Court deems reasonable and just under the circumstances.


 Respectfully submitted this 20th day of March, 2020.

                                                         By: /s/ Keith L. Breanx
                                                                 Keith L. Breaux, Pro Se
                                                                 100 Benjamin Franklin Drive
                                                                 Youngsville, LA 70592
                                                                 Tel.: (337) 450-9093
                                                                 Email: breauxklf%vahoo.com




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                                        CERTIFICATE OF SERVICE

 I HEREBY CERTIFY under penalty of perjury under the laws of the United States of America
 that a true and correct copy of the foregoing has been furnished via:


 { y } Electronic Mail; { V } U.S. Mail; { } Facsimile; { } Hand Delivery to:

 Robert E. Dozier, Esq.
 Trial Attorney, Tax Division
 U.S. Department of Justice
 Post Office Box 14198
 Washington, DC 20044
 Email: robert.e.dozier(a)usdoi.gov


 Karen J. King, Esq.
 Assistant United States Attorney
 Office of the United States Attorney
 Western District of Louisiana
 800 Lafayette Street, Suite 2200
 Lafayette, LA 70501
 Email: karen.kine(%usdoi.gov


 on this 20tn day of March, 2020.

                                                                   By: /s/Keith L. Breawc
                                                                            Keith L.Breaux, Pro S^




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